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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                             MDL No. 2804



                                         (SEE ATTACHED SCHEDULE)



                           CONDITIONAL TRANSFER ORDER (CTO í100)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,521 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                                  FOR THE PANEL:


                          Jul 09, 2019
                                                                  John W. Nichols
                                                                  Clerk of the Panel




   I hereby certify that this instrument is a true and correct copy of
   the original on file in my office. Attest: Sandy Opacich, Clerk
   U.S. District Court, Northern District of Ohio
   By: /s/Robert Pitts
   Deputy Clerk
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                               MDL No. 2804



                 SCHEDULE CTOí100 í TAGíALONG ACTIONS



 DIST     DIV.      C.A.NO.      CASE CAPTION


MISSISSIPPI NORTHERN

  MSN       3      19í00128      City of Clarksdale v. Purdue Pharma L.P. et al
  MSN       3      19í00129      City of Grenada v. Purdue Pharma L.P. et al
  MSN       3      19í00130      City of Jonestown v. Purdue Pharma L.P. et al
  MSN       4      19í00091      City of Indianola v. Purdue Pharma L.P. et al

NORTH DAKOTA

  ND        1      19í00106      Bismarck, City of v. Purdue Pharma L.P. et al
  ND        1      19í00107      Burleigh County v. Purdue Pharma L.P. et al
  ND        1      19í00115      Dunn County v. Purdue Pharma L.P. et al
  ND        1      19í00116      McLean County v. Purdue Pharma L.P. et al
  ND        1      19í00120      Williams County v. Purdue Pharma L.P. et al
  ND        1      19í00121      Mountrail County v. Purdue Pharma L.P. et al
  ND        1      19í00122      Mercer County v. Purdue Pharma L.P. et al
  ND        3      19í00105      Devils Lake v. Purdue Pharma L.P. et al
  ND        3      19í00108      Walsh County v. Purdue Pharma L.P. et al
  ND        3      19í00109      Towner County v. Purdue Pharma L.P. et al
  ND        3      19í00110      Barnes County v. Purdue Pharma L.P. et al
  ND        3      19í00111      Ramsey County v. Purdue Pharma L.P. et al
  ND        3      19í00112      Sargent County v. Purdue Pharma L.P. et al
  ND        3      19í00113      Benson County v. Purdue Pharma L.P. et al
  ND        3      19í00114      Richland County v. Purdue Pharma L.P. et al
  ND        3      19í00117      Ransom County v. Purdue Pharma L.P. et al
  ND        3      19í00118      Rolette County v. Purdue Pharma L.P. et al
  ND        3      19í00123      Grand Forks County v. Purdue Pharma L.P. et al
